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                                                                               U.S. DISTRICT COURT
                                                                                   N.D. OF ALABAMA


                  UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                       SOUTHERN DIVISION


LACHANDRA CARR,                          )
                                         )
      Plaintiff,                         )
                                         )   Civil Action Number
vs.                                      )   2:18-cv-00126-AKK
                                         )
ROCO REAL ESTATE,                        )
      Defendant.                         )
                                         )


                                     ORDER

      Consistent with the parties’ Joint Stipulation of Dismissal, doc. 25, the

court’s order of February 26, 2019, doc. 24, is REVISED to reflect that this action

is now DISMISSED WITH PREJUDICE. Each party to bear their own costs.

      DONE the 20th day of March, 2019.


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                                               ABDUL K. KALLON
                                        UNITED STATES DISTRICT JUDGE
